        Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 1 of 27




                                    STATEMENT OF FACTS

        Your affiant, Michael Jeng, is a Special Agent of the Federal Bureau of Investigation
(“FBI”) and has been an agent since June 2, 2017. I am assigned to a squad that investigates
organized criminal enterprises. As a Special Agent of the FBI, I received training in investigating
violations of federal statutes, including those regarding bank fraud, mail fraud, wire fraud, and
money laundering. I have participated in a number of investigations regarding criminal enterprises
and financial crimes, both as a Special Agent and as a Staff Operations Specialist for the FBI. I
have also conducted physical and electronic surveillance, researched tactical and strategic criminal
enterprise intelligence, and analyzed records of fraudulent activity. As a Special Agent, I am
authorized to investigate violations of laws of the United States and am authorized to execute
warrants issued under the authority of the United States.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. At around 1:00 p.m. EST, known and unknown
individuals broke through the police lines, toppled the outside barricades protecting the U.S.
Capitol, and pushed past USCP and supporting law enforcement officers there to protect the U.S.
Capitol. Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to
separate chambers to resolve a particular objection. Vice President Mike Pence was present and
presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
        Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 2 of 27




Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        On or about January 11, 2021, a member of the public (“WITNESS 1”) sent several videos
to the FBI that WITNESS 1 had taken of video clips that had been posted to the Instagram account
GREGG54321. The clips appeared to depict several individuals participating in the U.S. Capitol
riot and incursion on January 6, 2021. They also included several written narratives claiming that
the user of GREGG54321 had entered the U.S. Capitol on that day with other members of his
party. From my training and experience, I know that Instagram users can post video clips and
written narratives to their accounts. Instagram users can also include comments on their video clips
as well. WITNESS 1 informed the FBI that the user of GREGG54321 was GREGORY RICHARD
PURDY (PURDY), and that PURDY can be seen in the videos as the Caucasian male with blond
hair carrying a backpack and wearing a red, white, and blue jacket, jeans, and occasionally a red
hat (see Figure 1).




                                              Figure 1

        The FBI watched the videos and observed a clip that appeared to show PURDY at the head
of a bus with the caption “Will be in DC in 1 hour!” (see Figure 2).




                                                 2
        Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 3 of 27




                                             Figure 2
       In a second clip, PURDY can be seen walking down what appeared to be an area of
Washington, D.C. and addressing the viewer, “Listen brothers and sisters, we come in peace today.
But I swear to God, if the Antifa touches me, or my family, I’ll headbutt them in the f------
[inaudible] bro. Straight elbow, left hook” (see Figure 3). PURDY simultaneously makes motions
that appear to simulate striking someone. Another individual, who appeared to be an older
Caucasian male wearing a blue jacket, can also be seen in the clip (see Figure 4). PURDY
addresses this individual as “dad”. The FBI conducted research on open source databases and
social media and learned that PURDY’s father is Gregory Purdy-Schwartz (Purdy-Schwartz).
Images of Purdy-Schwartz found online appeared to resemble the individual that PURDY
addressed as “dad” as well, leading the FBI to believe that this individual was Purdy-Schwartz.




                                                3
        Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 4 of 27




                 Figure 3                                                        Figure 4

         In a third clip, PURDY can be seen in what appeared to be a street in Washington, D.C.
addressing the viewer, “We’re not letting this steal happen. We’re not letting this travesty against
democracy happen, because that’s what it is. We’re going to the Capitol right now, we’re marching
there . . .” (see Figure 5). In a fourth clip, which appeared to be a continuation of the third clip, the
camera panned to show that when PURDY said this, he was in the immediate vicinity of an
intersection that appeared to be adjacent to the National Museum of African American History and
Culture, a Smithsonian museum located at 1400 Constitution Ave, NW, Washington, D.C. 20560.




                                                   4
        Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 5 of 27




                                             Figure 5
       In a fifth clip, the FBI observed an unknown younger Caucasian male (“PERSON 1”)
wearing a tan jacket, backpack, jeans, and blue facemask (see Figure 6). In a sixth clip, the FBI
observed another unknown older Caucasian male (“PERSON 2”) that had facial hair and wore a
dark blue hooded sweatshirt and a dark blue cap speaking to PURDY (see Figure 7).




                                                5
        Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 6 of 27




              Figure 6                                                     Figure 7




        In a seventh clip, the account user of GREGG54321 posted a narrative that read, “I got my
Ass kicked by 10 cops, pepper sprayed, tear gassed, and a ripe ass beating with the Batons . . .
More info to come! Videos of inside the capital building with @mattcpurdy and
@bobtheplumbr1982 . . . I LOVE MY COUNTRY!!!!! STOP THE STEAL!!!!” (see Figure 8). I
know from my training and experience that Instagram users can tag other Instagram accounts with
the “@” symbol, indicating that MATTCPURDY and BOBTHEPLUMBR1982 were two other
Instagram accounts.




                                               6
        Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 7 of 27




                                              Figure 8

         In an eighth clip, the account user posted a narrative that read in part, “Today was about
taking our democracy back! We have undisputed evidence of major voter fraud . . .” (see Figure
9).




                                                 7
        Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 8 of 27




                                              Figure 9

         In a ninth clip, PURDY posted a narrative that read in part, “Today my group and I were
key players in conducting peaceful pushes. The game plan was to talk the officers [sic] and tell the
[sic] to STOP FOLLOWING ORDERS AND UPHOLD THE CONSTITUTION. . . . When they
didn’t listen we pushed through (without hitting them of course) we did these peaceful pushes all
the way into the capital [sic] building . . .” (see Figure 10).




                                                 8
        Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 9 of 27




                                              Figure 10



          In a tenth clip, an individual that appeared to be PURDY can be seen amongst a crowd of
protestors yelling at what appeared to be several Metropolitan Police Department (MPD) officers
outside the U.S. Capitol. PURDY also appeared to post a comment in this clip that stated in part,
“. . . this was an intense moment !!!! (I’m to the left . . .)” (see Figure 11). In an eleventh clip,
which appeared to be a continuation of the tenth clip, PURDY appeared to post a comment that
stated, “Peep my war cry at the end as we push through this riot team after they didn’t listen to us
. . .” (see Figure 12).




                                                 9
       Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 10 of 27




                Figure 11                                                     Figure 12



          In a twelfth clip, PURDY can be seen standing amongst a group of protestors on what
appeared to be an elevated outdoor area of the U.S. Capitol grounds. In the clip, PURDY stated,
“Right now we’re on top of the Capitol. Everybody stormed through. We’re the second wave
coming in. Look at what they’re f------ doing bro . . . [at this point, the clip panned to the ground
to show what appeared to be blood stains].” The clip also included a comment that stated, “This
was just after the last video after we successfully got through their first force !!! Look at the f-----
- blood on the ground . . .” (see Figure 13). PURDY also stated in this clip, “It’s raining tear gas,
it’s raining pepper spray, we’re not going to let them do this to us. It’s f------ b---s---.” The clip
then panned to show PERSON 2, who stated, “It’s b---s----.” When PERSON 2 entered frame, the
clip then included a comment that read in part, “Me and my uncle always got each other’s back
lol! . . . @bobtheplumbr1982 . . . ” (see Figure 14). This led the FBI to believe that PERSON 2
was the user of the Instagram account BOBTHEPLUMBR1982.




                                                  10
       Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 11 of 27




              Figure 13                                                  Figure 14




        In a thirteenth clip, PURDY can be seen amongst a group of rioters outside what appeared
to be the U.S. Capitol. The rioters appeared to be moving towards the Capitol and stepped over
what appeared to be barricades that had fallen over. A comment in this clip read, “This was just
after we pushed the top level gates over. The cops were swinging their batons trying to keep us
back. (Like 30 of them) But after talking to them telling them to “UPHOLD THE
CONSTITUTION” that helped a lot because instead of fighting us super hard like the last ones on
the previous slide we easily pushed through them and they all ran !!!” (see Figure 15).




                                              11
       Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 12 of 27




                                             Figure 15


        In a fourteenth clip, there is a post that appears to be footage taken from inside the U.S.
Capitol. Other rioters could be seen in the background. PURDY included a comment that read in
part, “Inside the capital [sic] getting tear gassed!” (see Figure 16).




                                                12
       Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 13 of 27




                                               Figure 16


       In a fifteenth clip, PURDY posted a narrative that read in part, “Will post more footage
from inside the capital [sic] tomorrow afternoon . . . Ill [sic] also talk about how I got out of it
with NO CHARGES and nothing on my record and got out of DC without being in a jail cell
(Yes you read that right!!!!) . . . p.s. if your [sic] wondering why I’m so open about this it’s
because I DON’T GIVE A F--- . . . ” (see Figure 17).




                                                  13
        Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 14 of 27




                                                Figure 17

         The FBI obtained body camera footage from two MPD officers that had been deployed to
protect the U.S. Capitol on January 6, 2021. The first officer’s footage appeared to show PURDY,
Purdy-Schwartz, PERSON 1, and PERSON 2 amongst a group of protestors standing opposite of
the officers (see Figures 18 and 19). PURDY, Purdy-Schwartz, and PERSON 2 could be seen
yelling at the officers, while PERSON 1, now wearing a gray cap, appeared to film the interaction
with a red cellphone (see Figure 19). At one point, PURDY appeared to be yelling, “You gotta let
us by . . . You don’t have to listen to them . . . tell your guys . . .” Purdy-Schwartz appeared to yell,
“You’re going to have to make a decision . . .” The crowd then appeared to push forward against
the officers and Purdy-Schwartz can be seen making contact with an officer (see Figure 20). In the
same video, PERSON 1 gets extremely close to police officers and appears to be pushing up
against the police line (see Figure 20). The second officer’s footage also showed this sequence of
events and showed that when the crowd pushed forward it appeared that PURDY made contact
with an officer as well (see Figure 21, in which PURDY’s red, white, and blue jacket can be seen
on the right). That video also shows PERSON 1 as part of the crowd that is pushing against the
police line (see Figure 21, in which PERSON 1 is the individual with the tan jacket). PERSON 1
appears to be filming these interactions with his cell phone. Both officers’ footage showed that
these events occurred on January 6, 2021 from approximately 2:01pm to 2:02pm.




                                                   14
Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 15 of 27




                             Figure 18




                             Figure 19




                                15
       Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 16 of 27




                                             Figure 20




                                             Figure 21


        The FBI obtained footage from surveillance cameras located inside the U.S. Capitol. The
footage was taken on January 6, 2021. One camera located in the Senate wing showed that
PURDY, PERSON 1, and PERSON 2 appeared to enter the Capitol at approximately 2:13pm on
this day amongst a crowd of protestors (see Figure 22). They did so after several protestors broke
what appeared to be a window, entered the building, and then kicked open a door that allowed
other protestors, including PURDY, PERSON 1, and PERSON 2, to enter through. Additional
footage showed that these three appeared to remain in the Capitol until at least 2:16pm. (see
Figures 23 and 24).


                                               16
Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 17 of 27




                             Figure 22




                               Figure 23




                               17
       Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 18 of 27




                                             Figure 24



         The FBI obtained footage from the body cameras of three additional MPD officers
(OFFICER 1, OFFICER 2, and OFFICER 3) that had been deployed to protect the U.S. Capitol
on January 6, 2021. OFFICER 1’s footage showed that at approximately 3:24pm, PURDY and
PERSON 2 appeared to stand opposite of the MPD officers amongst a group of protestors at an
area outside of the Capitol building (see Figure 25). PURDY could be heard saying to the officers,
“We’re on the same team. You don’t have to take these orders.” PERSON 2 said to the officers,
“Stop taking orders. We’re not here – we’re not here to kill or hurt anybody, we’re making our
voice heard. You should be behind us.” PURDY later said to the officers, “Are you guys going to
let us in, or are we gonna have to push in?” At various times, PURDY appeared to wave others in
the crowd behind him to move forward. At approximately 3:30pm, PURDY yelled to the crowd,
“Guys, we all gotta go at once.” PURDY then counted down from ten to one; upon reaching one,
PURDY then ran forward into OFFICER 1 and pushed his way past the police line (see Figure
26). Several MPD officers, including OFFICER 1, chased PURDY and restrained him. Footage
from OFFICER 2’s body camera showed that after PURDY ran forward, PERSON 2 followed by
also running forward and pushing against the officers (see Figure 27, where PERSON 2 can be
seen on the right). Footage from OFFICER 3’s body camera showed that when PERSON 2 ran
forward, PERSON 2 pushed into OFFICER 3 in an attempt to get past OFFICER 3 (see Figure
28).




                                               18
Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 19 of 27




                             Figure 25




                             Figure 26




                               19
Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 20 of 27




                             Figure 27




                             Figure 28




                               20
       Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 21 of 27




         OFFICERs 1, 2, and 3 were interviewed by the FBI. When interviewed, the FBI showed
them still shots of PURDY and PERSON 2 taken from their respective body camera footages. The
still shots encompassed the actions of PURDY and PERSON 2 at or about 3:30pm, when they
attempted to push past the officers. OFFICER 1 recognized PURDY as the individual that
conducted a countdown before running into him (OFFICER 1) and other officers. OFFICER 1
confirmed that he was involved with restraining PURDY. OFFICER 2 also recognized PURDY
and confirmed that PURDY had attempted to push past officers. OFFICER 3 recognized PERSON
2 and confirmed that PERSON 2 had pushed into him (OFFICER 3) after PURDY had conducted
the countdown.

        The FBI issued a subpoena to Facebook, Inc. (the company that owns Instagram) for
subscriber information pertaining to the Instagram accounts GREGG54321, MATTCPURDY, and
BOBTHEPLUMBR1982. The results showed that GREGG54321 was registered with the email
address                 @gmail.com” and the telephone number                 -0998. It also
appeared to be linked to another Instagram account called SOCIALMEDIABREAK123. The
account MATTCPURDY was registered with the email address                       @gmail.com”
and the telephone number                      5977. The account BOBTHEPLUMBR1982 was
registered under the name “Bob Turner”. Open source research showed that the numbers
       0998 and                5977 were associated with PURDY and MATTHEW PURDY
(MATTHEW), respectively.

       The FBI obtained photographs of TURNER from the New York’s Department of Motor
Vehicles (DMV) as well as booking photographs from two police departments located in New
York of TURNER from when he was arrested by them and compared it to the footage of PERSON
2. From these comparisons, the FBI believes that PERSON 2 is TURNER.

        The FBI interviewed WITNESS 1 multiple times. WITNESS 1 stated that he/she had
personally interacted with PURDY and MATTHEW in the past and was able to recognize their
images and voices. WITNESS 1 had never interacted with Purdy-Schwartz before but had seen
him on social media accounts belonging to PURDY and MATTHEW and knew him to be their
father. WITNESS 1 was shown footage from the MPD officers’ body cameras, the U.S. Capitol
surveillance cameras, and from Instagram account GREGG54321.

        WITNESS 1 confirmed that PURDY was the individual in Figures 1, 2, 3, 5, 11, 13, and
15. WITNESS 1 also identified PURDY as the individual with the red, white, and blue jacket in
Figure 18, Figure 19, the middle of Figure 22, Figure 23, and Figure 24. In addition, WITNESS 1
identified PURDY as the individual wearing the red, white, and blue jacket and pulling his mask
down in Figure 25 as well as the individual running towards the camera in Figure 26.

       WITNESS 1 further confirmed that PERSON 1 was MATTHEW. WITNESS 1 identified
MATTHEW as the person shown in Figure 6. WITNESS 1 further identified MATTHEW as the
person wearing a gray hat and blue mask in Figure 18, and the individual on the far left of Figure
19 wearing a gray hat and holding a red cellphone. WITNESS 1 also identified MATTHEW as the
individual with the tan jacket holding the red cellphone, and standing behind PURDY, in Figure
22. WITNESS 1 identified the man with the tan jacket in Figure 24 as MATTHEW.



                                               21
       Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 22 of 27




       WITNESS 1 identified Purdy-Schwartz as the individual in Figure 4. WITNESS 1 stated
that Purdy-Schwartz was the individual wearing the red hat with a mask on his chin, on the right
portion of Figure 19. WITNESS 1 further identified Purdy-Schwartz as the individual with the
mask on his chin in Figure 20.

       WITNESS 1 also informed the FBI that following the January 6, 2021 events, PURDY
appeared to de-activate his GREGG54321 Instagram account and instead appeared to use the
account SOCIALMEDIABREAK123.

        Law enforcement interviewed WITNESS 2. WITNESS 2 was an individual that had
personally interacted with TURNER in the past and could recognize his voice and image.
WITNESS 2 was shown footage from the MPD officers’ body cameras, the U.S. Capitol
surveillance cameras, and from Instagram account GREGG54321. WITNESS 2 confirmed that
TURNER was pictured in Figure 7. WITNESS 2 also confirmed that TURNER was the Caucasian
individual in Figures 19 and 25 with a goatee and wearing what appeared to be a blue knit cap with
“TRUMP” displayed on it.

         On March 22, 2021, the FBI executed a search warrant (21-SC-953) on Facebook, Inc. The
warrant targeted the Instagram accounts GREGG54321, MATTCPURDY, and
BOBTHEPLUMBR1982. Upon receiving the results of the search warrants, the FBI requested a
filter team to review the results for GREGG54321 and to omit any information that appeared to be
privileged, as the FBI was aware that PURDY had retained legal counsel as a result of this
investigation. Upon the completion of the filter review, your affiant reviewed the filtered results.
Below is information discovered that pertains to this investigation.




                                                22
       Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 23 of 27




GREGG54321:
          a. A screenshot was discovered that appeared to show the results of an Internet
             search of a quote supposedly said by Benjamin Franklin. The quote sad, “We
             need a revolution every 200 years, because all governments become stale and
             corrupt after 200 year…” Above this was an Instagram poll that appeared to
             have been added by the user asking, “Do you agree?” with the options to check
             yes or no (see Figure 29). From training and experience, I know that Instagram
             users can add polls such as this to their content for other Instagram users to take.




                                            Figure 29


              b. image of what appeared to be a flyer advertising President Donald Trump’s
                 speech on January 6, 2021 was found with a message that appeared to have been
                 added by the user that stated, “On my way to D.C now…will be on live later
                 !!” (See Figure 30).




                                               23
Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 24 of 27




                                    Figure 30


     c. A series of videos were discovered that appeared to show PURDY and
        TURNER sitting in the back seats of a vehicle as it drove at night. They
        appeared to discuss the January 6 events, specifically their interactions with law
        enforcement. The footage appeared to be taken by a cellphone camera in
        PURDY’s hands. Specific quotes include:
           i. PURDY said to an unknown individual driving the vehicle, “Hold on,
               what did you just say? Just repeat that.” The driver replied, “No, I’m not
               saying it because I know you’re recording.” PURDY then said, “No,
               you just f------ said that this is the song you thought of when we were
               going into the Capitol. Turn this up. It’s the f------ Halo theme song.”
               Of note, the driver appeared to be wearing a tan jacket similar to that
               which MATTHEW was wearing that day. The camera was also
               recording the display console at the front of the vehicle, which showed
               the time to be 10:48. This led your affiant to believe that the videos were
               likely taken the evening of January 6, as PURDY and his party were
               driving home from Washington, D.C.
          ii. PURDY said to TURNER, “We’re getting everybody pumped up…six,
               five, four, three, two…” and TURNER said, “When you hit one, I turned
               around and I bum rushed them. I knew you were bum rushing them too.”
         iii. PURDY said, “Like if your government does not follow the law and
               undermines democracy…wouldn’t force be kind of necessary?
         iv. PURDY said, “Given those circumstances, it’s our job to uphold the
               Constitution and do a f------ rebellion.” TURNER replied, “I called for
               a revolution, yes. A revolution.”
          v.   PURDY said, “We had enough people, they just weren’t scrunched up
               enough. If you had people, and there’s space between the people, by the
               time those first people go, the thirty f------ cops come in and they stop


                                      24
Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 25 of 27




                them, that’s what happened.” TURNER could be heard throughout
                agreeing with PURDY.
          vi.   PURDY said, “There needs to be the right hearings, a special counsel,
                something has to be done and today was a huge step toward it.”
         vii. PURDY said to the camera, “That’s just a brief f------ story of what
                happened. We’ll tell the full thing tomorrow, but it was epic as f---,
                today was epic.”
     d. Two images were found that appeared to be screenshots taken of
        GREGG54321’s account. The first (see Figure 31) appeared to show a
        notification from Instagram that some of the content involving the January 6
        events would be removed for violating Instagram’s policies. The second (see
        Figure 32) appeared to be a message from the account user stating, “Instagram
        took down half my stories!!! B---s---!!”




                 Figure 31                                    Figure 32




                                    25
       Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 26 of 27




BOBTHEPLUMBR1982:
         a. A video was found that appeared to show a crowd of protesters standing
            opposite of a line of police officers outside the U.S. Capitol building. The video
            appeared to have been taken by a cellphone and indicated that the cellphone
            holder was standing amongst the crowd. Your affiant recognized some of the
            protestors from the body camera footage from OFFICERs 1, 2, and 3 from when
            PURDY and TURNER ran into OFFICERs 1 and 3 at approximately 3:30pm.
            The name tags of OFFICERs 1, 2, and 3 could also be seen in the video.
         b. A second video was found that showed PURDY and MATTHEW standing on
            what appeared to be an elevated outdoor area of the U.S. Capitol grounds
            amongst other protestors. MATTHEW was filming PURDY with a cellphone
            while PURDY spoke. PURDY could be heard saying, “We’re not going to let
            them do this to us. It’s f------ b--- s---.” TURNER’s voice can then be heard
            saying, “It’s b--- s---.” This video appeared to depict events described earlier in
            this affidavit regarding Figures 13 and 14 from TURNER’s perspective.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
GREGORY RICHARD PURDY and ROBERT TURNER violated 18 U.S.C. § 231(a)(3) and 18
U.S.C. § 2, which makes it unlawful to commit or attempt to commit any act to obstruct, impede,
or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of 18 U.S.C. § 231, a federally protected function means any function,
operation, or action carried out, under the laws of the United States, by any department, agency,
or instrumentality of the United States or by an officer or employee thereof. This includes the Joint
Session of Congress where the Senate and House count Electoral College votes.

        There is probable cause to believe that GREGORY RICHARD PURDY and ROBERT
TURNER violated 18 U.S.C. § 111(a)(1) and 18 U.S.C. § 2, which makes it a crime for anyone to
forcibly assault, resist, oppose, impede, intimidate, or interfere with any United States law
enforcement officer while that officer is /.engaged in the performance of their official duties.

       There is probable cause to believe that GREGORY RICHARD PURDY and ROBERT
TURNER violated 18 U.S.C. § 1512(c)(2) and 18 U.S.C. § 2, which makes it a crime to corruptly
obstruct, influence, or impede any official proceeding, or attempt to do so and aiding and abetting.
Under 18 U.S.C. § 1515, congressional proceedings are official proceedings.

        There is probable cause to believe that GREGORY RICHARD PURDY, ROBERT
TURNER, and MATTHEW PURDY violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a
crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions or attempts
or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a


                                                 26
   Case 1:21-mj-00644-GMH Document 1-1 Filed 11/04/21 Page 27 of 27




posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that GREGORY RICHARD
PURDY, ROBERT TURNER, and MATTHEW PURDY violated 40 U.S.C. § 5104(e)(2)(D) and
(G), which makes it a crime to willfully and knowingly D) utter loud, threatening, or abusive
language, or engage in disorderly or disruptive conduct, at any place in the Grounds or in any of
the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session
of Congress or either House of Congress, or the orderly conduct in that building of a hearing
before, or any deliberations of, a committee of Congress or either House of Congress; and (G)
parade, demonstrate, or picket in any of the Capitol Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 3rd day of November, 2021
                                                      G. Michael            Digitally signed by G.
                                                                               Michael Harvey

                                                      Harvey                   Date: 2021.11.04 08:57:44
                                                                               -04'00'
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




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